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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ELMAGIN CAPITAL, LLC                       :      CIVIL ACTION
                                           :
      v.                                   :
                                           :
CHAO CHEN, KARL PETTY,                     :
ENTERGRID LLC, and                         :
ENTERGRID FUND I LLC                       :      No. 20-2576

                                      ORDER


I DENY Defendants’ request for attorneys’ fees. Per Plaintiff’s request at D.I. 311, I
will consider any contract issues in its motion for reconsideration when I consider
its motion for a new trial.




Dated: June 17, 2022                           ____________________________________
                                                UNITED STATES CIRCUIT JUDGE
